Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 1 of 7




                             Exhibit 26
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
                Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 2 of 7



                                                   Exhibit 7
                                     Number of Individual Overpaid Claims
                                        January 1994 - December 2004


                                                                           Individual Overpaid Claims
                                                          With Positive     With Missing or Negative
              Product Name                  NDC          Estimated AWP           Estimated AWP           Total
                                                                                (Number of Claims)
                                                                                                         (3)+(4)
                   (1)                       (2)                 (3)                    (4)                (5)


 1.   AMIODARONE HCL 200 MG TABLET       00781120360              22,715                         4,422      27,137
 2.   AMITRIP/PERPHEN 25-2 TABLET        00781127301              11,396                         9,149      20,545
 3.   AMITRIPTYLINE HCL 10 MG TAB        00781148610              37,849                         3,239      41,088
 4.   AMITRIPTYLINE HCL 100 MG TAB       00781149001              20,197                            38      20,235
 5.   AMITRIPTYLINE HCL 25 MG TAB        00781148701              23,403                        21,855      45,258
 6.   AMITRIPTYLINE HCL 25 MG TAB        00781148710              76,528                        19,733      96,261
 7.   AMITRIPTYLINE HCL 50 MG TAB        00781148801              22,842                        24,697      47,539
 8.   AMITRIPTYLINE HCL 50 MG TAB        00781148810              53,214                         9,059      62,273
 9.   ATENOLOL 100 MG TABLET             00781150701             173,572                         8,064     181,636
10.   ATENOLOL 25 MG TABLET              00781107801             623,051                           557     623,608
11.   ATENOLOL 25 MG TABLET              00781107810             328,857                             0     328,857
12.   ATENOLOL 50 MG TABLET              00781150601             185,822                        47,953     233,775
13.   ATENOLOL 50 MG TABLET              00781150610             809,583                        64,241     873,824
14.   AZATHIOPRINE 50 MG TABLET          00781105901               7,383                         1,079       8,462
15.   BROMOCRIPTINE 2.5 MG TABLET        00781181701               5,122                           723       5,845
16.   BROMOCRIPTINE 2.5 MG TABLET        00781181731               2,937                           348       3,285
17.   BUPROPION HCL 100 MG TABLET        00781106401              11,034                            13      11,047
18.   BUPROPION HCL 75 MG TABLET         00781105301              11,987                            24      12,011
19.   CARISOPRODOL 350 MG TABLET         00781105001               5,502                           334       5,836
20.   CHLORPROMAZINE 100 MG TABLET       00781171801              46,515                        18,422      64,937
21.   CHLORPROMAZINE 100 MG TABLET       00781171810              14,792                         6,132      20,924
22.   CHLORPROMAZINE 200 MG TABLET       00781171901              16,884                         7,635      24,519
23.   CHLORPROMAZINE 25 MG TABLET        00781171601              28,812                        10,528      39,340
24.   CHLORPROMAZINE 50 MG TABLET        00781171701              39,274                        15,878      55,152
25.   CHLORPROMAZINE 50 MG TABLET        00781171710              11,677                         4,153      15,830
26.   CIMETIDINE 300 MG TABLET           00781144801              27,057                        12,861      39,918
27.   CIMETIDINE 400 MG TABLET           00781144901             152,639                        61,832     214,471
28.   CIMETIDINE 400 MG TABLET           00781144905              56,926                         5,471      62,397
29.   CIMETIDINE 800 MG TABLET           00781144401               9,825                         3,405      13,230



                                                   Page 1 of 6
                Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 3 of 7



                                                   Exhibit 7
                                     Number of Individual Overpaid Claims
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                                                                           Individual Overpaid Claims
                                                          With Positive     With Missing or Negative
               Product Name                 NDC          Estimated AWP           Estimated AWP           Total
                                                                                (Number of Claims)
                                                                                                         (3)+(4)
                    (1)                      (2)                 (3)                    (4)                (5)


30.   CLOMIPRAMINE 25 MG CAPSULE         00781202701               8,476                             0       8,476
31.   CLOMIPRAMINE 50 MG CAPSULE         00781203701              14,470                             2      14,472
32.   DESIPRAMINE 10 MG TABLET           00781197101              15,710                        11,305      27,015
33.   DESIPRAMINE 100 MG TABLET          00781197501              12,529                         7,231      19,760
34.   DESIPRAMINE 25 MG TABLET           00781197201              22,527                        12,178      34,705
35.   DESIPRAMINE 50 MG TABLET           00781197301              32,219                        17,521      49,740
36.   DICLOFENAC SOD 50 MG TAB EC        00781178701              67,494                           920      68,414
37.   DICLOFENAC SOD 50 MG TAB EC        00781178710              18,745                             0      18,745
38.   DICLOFENAC SOD 75 MG TAB EC        00781178901             126,825                         3,331     130,156
39.   DICLOFENAC SOD 75 MG TAB EC        00781178910              78,615                         3,038      81,653
40.   DICLOFENAC SOD 75 MG TAB EC        00781178960               8,597                           141       8,738
41.   ENALAPRIL MALEATE 10 MG TAB        00781123201              28,684                        32,185      60,869
42.   ENALAPRIL MALEATE 2.5 MG TAB       00781122901               7,883                         4,519      12,402
43.   ENALAPRIL MALEATE 20 MG TAB        00781123301              31,039                        12,907      43,946
44.   ENALAPRIL MALEATE 5 MG TAB         00781123101              30,513                        18,333      48,846
45.   FLUPHENAZINE 1 MG TABLET           00781143601              10,835                         3,828      14,663
46.   FLUPHENAZINE 10 MG TABLET          00781143901              44,117                        14,063      58,180
47.   FLUPHENAZINE 10 MG TABLET          00781143905              14,815                         2,609      17,424
48.   FLUPHENAZINE 2.5 MG TABLET         00781143701              12,144                         3,166      15,310
49.   FLUPHENAZINE 5 MG TABLET           00781143801              45,424                        13,458      58,882
50.   FLUPHENAZINE 5 MG TABLET           00781143805               8,519                         1,619      10,138
51.   FUROSEMIDE 20 MG TABLET            00781181801              11,265                        19,205      30,470
52.   FUROSEMIDE 20 MG TABLET            00781181810             193,833                         9,041     202,874
53.   FUROSEMIDE 40 MG TABLET            00781196601              57,953                        36,968      94,921
54.   FUROSEMIDE 40 MG TABLET            00781196610             438,654                        25,512     464,166
55.   FUROSEMIDE 80 MG TABLET            00781144605              31,481                         2,467      33,948
56.   GLIPIZIDE 10 MG TABLET             00781145301              98,535                         2,780     101,315
57.   GLIPIZIDE 10 MG TABLET             00781145310             232,042                         4,669     236,711
58.   GLIPIZIDE 5 MG TABLET              00781145201              97,681                         3,013     100,694



                                                   Page 2 of 6
               Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 4 of 7



                                                   Exhibit 7
                                     Number of Individual Overpaid Claims
                                        January 1994 - December 2004


                                                                           Individual Overpaid Claims
                                                          With Positive     With Missing or Negative
              Product Name                  NDC          Estimated AWP           Estimated AWP           Total
                                                                                (Number of Claims)
                                                                                                         (3)+(4)
                   (1)                       (2)                 (3)                    (4)                (5)


59.   GLIPIZIDE 5 MG TABLET              00781145210             278,158                         7,034     285,192
60.   GLYBURIDE 5 MG TABLET              00781145710             171,156                        66,917     238,073
61.   HALOPERIDOL 1 MG TABLET            00781139201              10,526                        14,558      25,084
62.   HALOPERIDOL 10 MG TABLET           00781139701             111,276                        27,634     138,910
63.   HALOPERIDOL 10 MG TABLET           00781139710              43,814                             0      43,814
64.   HALOPERIDOL 2 MG TABLET            00781139301               9,272                        15,916      25,188
65.   HALOPERIDOL 5 MG TABLET            00781139601              39,571                        28,510      68,081
66.   HALOPERIDOL 5 MG TABLET            00781139610              12,548                             0      12,548
67.   HYDROXYCHLOROQUINE 200 MG TB       00781140701              63,689                           420      64,109
68.   IBUPROFEN 800 MG TABLET            00781136301              11,024                        10,494      21,518
69.   IMIPRAMINE HCL 10 MG TABLET        00781176201              27,707                        11,339      39,046
70.   IMIPRAMINE HCL 25 MG TABLET        00781176401              48,430                        25,099      73,529
71.   IMIPRAMINE HCL 25 MG TABLET        00781176410              40,056                         8,834      48,890
72.   IMIPRAMINE HCL 50 MG TABLET        00781176601              49,929                        27,551      77,480
73.   IMIPRAMINE HCL 50 MG TABLET        00781176610              38,811                         8,431      47,242
74.   ISOSORBIDE DN 10 MG TABLET         00781155601              78,377                        64,086     142,463
75.   ISOSORBIDE DN 10 MG TABLET         00781155610             126,919                        48,316     175,235
76.   ISOSORBIDE DN 20 MG TABLET         00781169501              38,836                        53,286      92,122
77.   ISOSORBIDE DN 20 MG TABLET         00781169510              80,952                        43,093     124,045
78.   ISOSORBIDE DN 5 MG TABLET          00781163510              47,072                        19,707      66,779
79.   LONOX TABLET                       00781126201             101,890                        20,422     122,312
80.   LONOX TABLET                       00781126205              26,829                         8,011      34,840
81.   LONOX TABLET                       00781126210             272,108                        23,354     295,462
82.   LORAZEPAM 0.5 MG TABLET            00781140301             124,823                           613     125,436
83.   LORAZEPAM 0.5 MG TABLET            00781140305             164,608                           356     164,964
84.   LORAZEPAM 1 MG TABLET              00781140401             184,429                         1,147     185,576
85.   LORAZEPAM 1 MG TABLET              00781140405             121,102                           522     121,624
86.   LORAZEPAM 1 MG TABLET              00781140410             114,127                           423     114,550
87.   LORAZEPAM 2 MG TABLET              00781140501              77,295                         5,034      82,329



                                                   Page 3 of 6
                 Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 5 of 7



                                                    Exhibit 7
                                      Number of Individual Overpaid Claims
                                         January 1994 - December 2004


                                                                            Individual Overpaid Claims
                                                           With Positive     With Missing or Negative
                Product Name                 NDC          Estimated AWP           Estimated AWP           Total
                                                                                 (Number of Claims)
                                                                                                          (3)+(4)
                     (1)                      (2)                 (3)                    (4)                (5)


 88.   LORAZEPAM 2 MG TABLET              00781140505              44,788                         2,882      47,670
 89.   METHAZOLAMIDE 50 MG TABLET         00781107101              13,997                         2,713      16,710
 90.   METHYLPHENIDATE 10 MG TABLET       00781174901               8,150                           134       8,284
 91.   METHYLPHENIDATE 20 MG TAB SA       00781175401               4,866                            98       4,964
 92.   METHYLPHENIDATE 5 MG TABLET        00781174801               6,225                           114       6,339
 93.   METOPROLOL 100 MG TABLET           00781122801              23,138                         1,613      24,751
 94.   METOPROLOL 50 MG TABLET            00781122301              73,278                         4,199      77,477
 95.   METOPROLOL 50 MG TABLET            00781122310             101,565                        13,033     114,598
 96.   NAPROXEN 250 MG TABLET             00781116301              18,667                         5,436      24,103
 97.   NAPROXEN 375 MG TABLET             00781116401              35,632                        15,633      51,265
 98.   NAPROXEN 375 MG TABLET             00781116405              33,801                         6,490      40,291
 99.   NAPROXEN 375 MG TABLET             00781116410              32,171                        10,318      42,489
100.   NAPROXEN 500 MG TABLET             00781116501              60,896                        24,513      85,409
101.   NAPROXEN 500 MG TABLET             00781116505              79,687                         8,441      88,128
102.   NAPROXEN 500 MG TABLET             00781116510              69,817                        18,502      88,319
103.   NITROFURANTOIN MCR 100 MG CP       00781250301              26,071                         7,876      33,947
104.   NITROFURANTOIN MCR 50 MG CAP       00781250201              15,081                         4,362      19,443
105.   NORTRIPTYLINE HCL 50 MG CAP        00781263201              20,387                         7,891      28,278
106.   PERPHENAZINE 16 MG TABLET          00781104901              14,545                         5,507      20,052
107.   PERPHENAZINE 2 MG TABLET           00781104601              23,147                         9,604      32,751
108.   PERPHENAZINE 4 MG TABLET           00781104701              39,858                        18,049      57,907
109.   PERPHENAZINE 8 MG TABLET           00781104801              41,051                        17,692      58,743
110.   PROMETHAZINE 25 MG TABLET          00781183001             110,185                        10,146     120,331
111.   PROMETHAZINE 25 MG TABLET          00781183010              15,411                           380      15,791
112.   PROMETHAZINE 50 MG TABLET          00781183201              19,550                         4,903      24,453
113.   RANITIDINE 150 MG TABLET           00781188305              10,054                         4,973      15,027
114.   RANITIDINE 150 MG TABLET           00781188310              23,936                         5,496      29,432
115.   RANITIDINE 150 MG TABLET           00781188360               8,267                         7,989      16,256
116.   SPIRONOLACTONE 25 MG TABLET        00781159901              47,811                        10,273      58,084



                                                    Page 4 of 6
                 Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 6 of 7



                                                   Exhibit 7
                                     Number of Individual Overpaid Claims
                                        January 1994 - December 2004


                                                                           Individual Overpaid Claims
                                                          With Positive     With Missing or Negative
                Product Name                NDC          Estimated AWP           Estimated AWP           Total
                                                                                (Number of Claims)
                                                                                                         (3)+(4)
                     (1)                     (2)                 (3)                    (4)                (5)


117.   SPIRONOLACTONE 25 MG TABLET       00781159910              27,530                         5,561      33,091
118.   TEMAZEPAM 15 MG CAPSULE           00781220101              57,188                           500      57,688
119.   TEMAZEPAM 30 MG CAPSULE           00781220201              49,811                           299      50,110
120.   TERAZOSIN 1 MG CAPSULE            00781205101              41,650                        24,699      66,349
121.   TERAZOSIN 10 MG CAPSULE           00781205401              20,800                        11,686      32,486
122.   TERAZOSIN 2 MG CAPSULE            00781205201             105,469                        38,189     143,658
123.   TERAZOSIN 5 MG CAPSULE            00781205301              99,987                        35,672     135,659
124.   THIORIDAZINE 10 MG TABLET         00781160401              24,048                        13,207      37,255
125.   THIORIDAZINE 10 MG TABLET         00781160410               9,419                         2,346      11,765
126.   THIORIDAZINE 100 MG TABLET        00781164401              49,051                        18,659      67,710
127.   THIORIDAZINE 100 MG TABLET        00781164410              15,349                         5,156      20,505
128.   THIORIDAZINE 15 MG TABLET         00781161401               9,327                         5,758      15,085
129.   THIORIDAZINE 150 MG TABLET        00781166401               6,761                         1,513       8,274
130.   THIORIDAZINE 200 MG TABLET        00781167401              24,714                         7,753      32,467
131.   THIORIDAZINE 25 MG TABLET         00781162401              46,243                        22,386      68,629
132.   THIORIDAZINE 25 MG TABLET         00781162410              24,180                         5,508      29,688
133.   THIORIDAZINE 50 MG TABLET         00781163401              57,342                        21,517      78,859
134.   THIORIDAZINE 50 MG TABLET         00781163410              26,065                         4,797      30,862
135.   THIOTHIXENE 10 MG CAPSULE         00781222901              32,073                        10,957      43,030
136.   THIOTHIXENE 2 MG CAPSULE          00781222701              16,091                         6,750      22,841
137.   THIOTHIXENE 5 MG CAPSULE          00781222801              30,339                        10,770      41,109
138.   TRAZODONE 100 MG TABLET           00781180801              29,987                         8,569      38,556
139.   TRAZODONE 50 MG TABLET            00781180701              50,215                        19,093      69,308
140.   TRIAMTERENE/HCTZ 50/25 CAP        00781254001              58,082                        16,901      74,983
141.   TRIAMTERENE/HCTZ 50/25 CAP        00781254010             138,166                        36,191     174,357
142.   TRIAMTERENE/HCTZ 50/25 CAP        00781271501             296,429                        42,123     338,552
143.   TRIAMTERENE/HCTZ 50/25 CAP        00781271510             292,431                        46,579     339,010
144.   TRIAMTERENE/HCTZ 75/50 TAB        00781100805              41,220                        12,120      53,340
145.   TRIFLUOPERAZINE 1 MG TABLET       00781103001               7,128                         1,660       8,788



                                                   Page 5 of 6
                 Case 1:01-cv-12257-PBS Document 6791-27 Filed 12/21/09 Page 7 of 7



                                                    Exhibit 7
                                      Number of Individual Overpaid Claims
                                         January 1994 - December 2004


                                                                                    Individual Overpaid Claims
                                                                With Positive        With Missing or Negative
                Product Name                   NDC             Estimated AWP              Estimated AWP               Total
                                                                                          (Number of Claims)
                                                                                                                      (3)+(4)
                     (1)                         (2)                  (3)                          (4)                  (5)


146.   TRIFLUOPERAZINE 10 MG TABLET         00781103610                24,029                               11,302       35,331
147.   TRIFLUOPERAZINE 2 MG TABLET          00781103201                39,277                               18,857       58,134
148.   TRIFLUOPERAZINE 5 MG TABLET          00781103401                79,976                               40,161      120,137
149.   TRIFLUOPERAZINE 5 MG TABLET          00781103410                17,154                                6,774       23,928
       Total                                                       10,023,916                            1,912,234   11,936,150




                                 Source: Cols. (1)-(2): Current NDC Counts 12-2007.xls;
                                         Cols. (3)-(4): Sandoz claims data and transaction data.




                                                        Page 6 of 6
